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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                                                                       April 04, 2024
                   IN THE UNITED STATES DISTRICT COURT              Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



DANNY J. SIMS,                        §
TDCJ #2367613,                        §
                                      §
                   Petitioner,        §
                                      §
v.                                    §
                                      §       CIVIL ACTION NO. H-24-0450
BOBBY LUMPKIN, Director,              §
Texas Department of Criminal          §
Justice - Correctional                §
Institutions Division,                §
                                      §
                   Respondent.        §



                               FINAL JUDGMENT



       For the reasons set forth in the court's Memorandum Opinion

and Order entered on this date,           this action is DISMISSED WITH

PREJUDICE.

       This is a FINAL JUDGMENT.

       The Clerk shall provide a copy of this Final Judgment to the

petitioner.

       SIGNED at Houston, Texas, on this the 3rd day of April, 2024.




                                          � SIM LAKE
                                    SENIOR UNITED STATES DISTRICT JUDGE
